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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No.: 1:20-cv-02112-WJM-KMT

  DANA LIESER,

          Plaintiff,

  v.

  THE HARMONY FOUNDATION, INC., a Colorado not for profit corporation,

          Defendant.


                  STIPULATED JOINT MOTION TO DISMISS WITH PREJUDICE


        The Parties, Plaintiff Dana Lieser and Defendant the Harmony Foundation, Inc., have

 reached an amicable settlement in the above referenced matter. The Parties respectfully request that

 the Court dismiss all of the claims with prejudice, in the above action. The Parties stipulate that all

 claims shall be dismissed with prejudice, with each Party to bear their own costs and attorney fees.

 Respectfully submitted this 11th day of January 2021,


  /s/ Sara A. Green                               /s/ Todd Arthur Fredrickson
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